Case 3:18-cv-01131-BJD-JBT Document 2 Filed 09/19/18 Page igo}qa Pemetesss0-xXXX-MA

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IN THE CIRCUIT COURT OF THE
FOURTH JUDICIAL CIRCUIT, IN AND
FOR DUVAL COUNTY, FLORIDA

CASE NO.: 2018-CA-5550
DIVISION: CV-F

KRISTEN MASOUDIPOYA,
Plaintiff,
vs.
PIVOTAL PAYMENTS, INC., d/b/a
CAPITAL PROCESSING NETWORK,
Serve On:
Corporation Service Company
1201 Hays Street
Tallahassee, FL 32301

Defendant.
/

COMPLAINT FOR INJUNCTIVE RELIEF, DAMAGES
AND DEMAND FOR JURY TRIAL

I. INTRODUCTION
1. This is an action for injunctive relief and damages in excess of $15,000.00 by an
individual consumer, KRISTEN MASOUDIPOYA, for violations of the Telephone Consumer
Protection Act, 47 U.S.C. § 227 et seg., by Defendant, PIVOTAL PAYMENTS, INC. d/b/a
CAPITAL PROCESSING NETWORK (“PIVOTAL”). Fundamentally, this case is about the
Defendant’s refusal to respect Ms. Masoudipoya’s personal and legal rights by repeatedly

contacting Ms. Masoudipoya’s cellular telephone with telemarketing robocalls.

ACCEPTED: DUVAL COUNTY, RONNIE FUSSELL, CLERK, 08/17/2018 09:01:40 AM
Case 3:18-cv-01131-BJD-JBT Document 2 Filed 09/19/18 Page 2 of 5 PagelD 25

II, JURISDICTION AND VENUE

2. Jurisdiction of this Court arises pursuant to Fla. Stat. § 26.012 and 47 U.S.C. §
227(b)(3). Venue in this County is proper in that Plaintiff resides here and the violations
committed by Defendant occurred here.

III. PARTIES

3. Plaintiff, KRISTEN MASOUDIPOYA, is a natural person, and citizen of the State
of Florida. Ms. Masoudipoya is a “person” as defined by the TCPA, 47 U.S.C. § 227(a)(2)(A).

4, Defendant, PIVOTAL, whose principal address is located at 5000 Legacy Dr., Suite
320, Plano, TX 75024, is a “leading provider of technology-driven global payment processing
solutions for small to large enterprises in the point-of-sale, B2B and e-commerce industries.” See
http://www. pivotalpayments.com/about-us/pivotal-payments (last visited August 14, 2018).

5. PIVOTAL “deliver{s] the best payment acceptance strategies” to its clients by
operating “multiple divisions dedicated to specific industry segments.” Id.

6. One such division is CAPITAL PROCESSING NETWORK (“CPN”), which
PIVOTAL acquired in 2014. See http://www.pivotalpayments.com/press-release/pivotal-
payments-acquires-key-assets-capital-processing-network-llc (last visited August 14, 2018).
PIVOTAL frequently does business as CPN throughout Florida.

IV. BACKGROUND

7. Plaintiff, at all times pertinent hereto, has not been engaged in running a business
and has not had any need, whatsoever, for any payment processing solutions for small or large
businesses.

8. Furthermore, Plaintiff has never been a customer of PIVOTAL, has never desired

to be a customer of PIVOTAL, and has never requested any information from any company, let
Case 3:18-cv-01131-BJD-JBT Document 2 Filed 09/19/18 Page 3 of 5 PagelD 26

alone PIVOTAL, on using a payment processing solution service, such as those provided by
PIVOTAL.

9. Despite Plaintiff's status as an individual who was not in need of any payment
processing services PIVOTAL, either directly or by and through its agent(s) or affiliated
companies, willfully communicated with Plaintiff by means of at least nineteen (19) telephone
calls to Plaintiff's cellular telephone between April 15, 2016 and September 2, 2016.

10. The telephone calls made by PIVOTAL, or on PIVOTAL’s behalf, to Ms.
Masoudipoya’s cellular telephone between April 15, 2016 and September 2, 2016 were willfully
or knowingly made using an “automatic telephone dialing system” (“ATDS”) as defined by the
TCPA, 47 U.S.C. § 227(a)(1).

11. The ATDS used to make the calls listed above has the capacity to store or produce
telephone numbers to be called, without human intervention, using a random or sequential number
generator.

12, Upon information and belief, the telephone system utilized by, or on behalf of,
PIVOTAL, to call Ms. Masoudipoya’s cellular telephone operates as a predictive dialer.

13. For example, on August 1, 2016 at 5:34 P.M. Plaintiff received a telemarketing call
to Plaintiffs cellular telephone from, or on behalf of, PIVOTAL.

14. | When Ms. Masoudipoya was able to answer the August 1, 2016 telephone call there
was a pause after Ms. Masoudipoya answered before any sounds came on the line.

15. Following the lengthy pause and extended silence, a prerecorded message played
indicating that the call was being made to market credit card processing services.

16. | The telephone calls listed in Table 1 were not made for emergency purposes as

detailed by the TCPA, 47 U.S.C. § 227(b)(1)(A)Ci).
Case 3:18-cv-01131-BJD-JBT Document 2 Filed 09/19/18 Page 4 of 5 PagelD 27

17. The telephone calls listed in Table 1 were placed to Ms. Masoudipoya’s cellular
telephone for which Ms. Masoudipoya incurs a charge for incoming calls as detailed by the TCPA,

47 US.C, § 227(b)(1).
18. PIVOTAL did not have Ms. Masoudipoya’s prior, unrevoked consent to contact
Ms. Masoudipoya’s cellular telephone.
19. Furthermore, the Federal Communication Commission (the “FCC”), the agency
Congress vested with authority to issue regulations implementing the TCPA, has ordered that
{A] consumer's written consent to receive telemarketing robocalls
must be signed and be sufficient to show that the consumer: (1)
received “clear and conspicuous disclosure” of the consequences of
providing the requested consent, i.e., that the consumer will receive
future calls that deliver prerecorded messages by or on behalf of a
specific seller; and (2) having received this information, agrees
unambiguously to receive such calls at a telephone number the
consumer designates. In addition, the written agreement must be
obtained “without requiring, directly or indirectly, that the

agreement be executed as a condition of purchasing any good or
service.

In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.
Red. 1830, 1844 (2012).

20. At no time did Ms. Masoudipoya provide the written consent to receive
telemarketing robocalls from PIVOTAL or any of PIVOTAL’s “divisions,” as contemplated by
the FCC.

21. PIVOTAL’s harassing, robocalling telemarketing activity resulted in Ms.
Masoudipoya suffering emotional and mental distress, loss of sleep, frustration, and

embarrassment, and caused strains in Ms. Masoudipoya’s familial and business relationships.
Case 3:18-cv-01131-BJD-JBT Document 2 Filed 09/19/18 Page 5 of 5 PagelD 28

V. COUNT I —- UNLAWFUL USE OF TELEPHONE EQUIPMENT
BY PIVOTAL PAYMENTS, INC. d/b/a CAPITAL PROCESSING NETWORK

22, Plaintiff incorporates by reference paragraphs 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13,
14, 15, 16, 17, 18, 19, 20, and 21 of this Complaint.

23. PIVOTAL, either directly or by and through its affiliates, agents, and/or other
entities acting on PIVOTAL’s behalf willfully and knowingly placed non-emergency telephone
calls to Ms. Masoudipoya’s cellular telephone using an automated telephone dialing system
without Ms. Masoudipoya’s prior, unrevoked consent in violation of 47 U.S.C. § 227(b)(1)(A)(iii).

WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and
against Defendant, PIVOTAL PAYMENTS, INC. d/b/a CAPITAL PROCESSING NETWORK,
for:

a. Damages pursuant to 47 U.S.C. § 227(b)(3);

b. Treble damages pursuant to 47 U.S.C. § 227(b)(3)(C);

b. Injunctive relief; and

c. Such other and further relief as the Court deems proper.

JURY DEMAND

Plaintiff demands trial by jury on all claims so triable.
/s/ Ryan G. Moore
Ryan G. Moore, Fla. Bar No.: 70038
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